Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 1 of 19 Pageid#: 1824




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Roanoke Division

BAE SYSTEMS ORDNANCE         )
SYSTEMS, INC.                )
                             )
Plaintiff,                   )
                             )                          Civil Action No. 7:20-CV-00587-MFU-RSB
v.                           )
                             )
FLUOR FEDERAL SOLUTIONS, LLC )
                             )
Defendant.                   )
                             )
                             )

    FLUOR FEDERAL SOLUTIONS, LLC’S FIRST SET OF REQUESTS FOR THE
   PRODUCTION OF DOCUMENTS TO PLAINTIFF BAE SYSTEMS ORDNANCE
                          SYSTEMS, INC.


        Under Federal Rule of Civil Procedure (“FRCP”) 34, Defendant, Fluor Federal Solutions, LLC

(“Fluor”), through its undersigned counsel, requests Plaintiff, BAE Systems Ordnance Systems, Inc.

(“BAE”), to produce the documents and other tangible things described herein, in accordance with

the following definitions and instructions, within thirty (30) days of service, to the following address:

Watt, Tieder, Hoffar & Fitzgerald, LLP, Attn: Scott P. Fitzsimmons, 1765 Greensboro Station Place,

Suite 1000, McLean, VA 22102.

                                         INSTRUCTIONS

        1.      The requests for production of documents (“Requests”) below are to be answered in

the manner and form required by FRCP 34.

        2.      Each Request must, to the extent it is not objected to, be answered separately and fully

in writing and under oath. Each Request is to be accorded a separate answer, and Requests are not to

be combined for the purpose of supplying a common response thereto.




                                                                                                  EXHIBIT
                                                                                                       C
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 2 of 19 Pageid#: 1825




        3.      Under FRCP 26(e), these Requests are continuing in nature, and you are required to

supplement or correct any disclosure or response to these Requests in a timely manner if you learn

that the disclosure or response is, in some material respect, incomplete or incorrect, and if the

additional or corrective information has not otherwise been made known to the other party during

the discovery process in writing, or as ordered by the Court. Any additions or changes to this

information must be disclosed by the time the party’s pretrial disclosures under FRCP 26(a)(3) are due.

        4.      No part of a Request should be left unanswered merely because an objection is

interposed to another part of the Request. If a partial or incomplete answer is provided, the responding

party shall state that the answer is partial or incomplete.

        5.      Documents must be produced as they are kept in the usual course of business or

organized and labeled to correspond with the categories in the request, as described in FRCP 34(b).

        6.      Under FRCP 37(a), the propounding party may move for an order with respect to any

objection to or other failure to respond to a Request or any part thereof, or any failure to permit

inspection as requested.

        7.      Even though a Request is directed to BAE, furnish all documents which are available

to, or in the possession, custody, or control of BAE, its board members, directors, officers, employees,

agents, representatives, consultants, or anyone acting on BAE’s behalf, and, unless otherwise

privileged, BAE’s counsel and their employees, representatives, agents, investigators, or consultants.

        8.      If any document called for by a document request is withheld under any claim or

assertion of privilege and/or work product, whether in whole or in part, identify as to each such

document:

        A.      The bates number (if any) of the document;

        B.      The date of the document;

        C.      The file type or document extension (e.g., .doc, .msg, etc.)



                                                    2
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 3 of 19 Pageid#: 1826




        D.      The document title or subject;

        E.      The author of the document;

        F.      All recipients (including recipients by blind carbon copy);

        G.      A brief general description of the document; and

        H.      The basis for the privilege, protection, or immunity claimed, set forth in sufficient

                detail to enable Fluor to assess the applicability of the claimed privilege, protection, or

                immunity.

        9.      To the extent BAE considers any of the following Requests or subparts thereof to be

objectionable, answer the portion of the Request (or subpart thereof) to which BAE does not object,

and separately state which portion of the Request (or subpart thereof) BAE objects to, along with the

specific grounds for the objection.

        10.     For any document no longer in existence or which cannot be located, identify the

documents, state how and when it passed out of existence or can no longer be located, and the reasons

therefor, and identify each person having knowledge concerning such disposition or loss, and each

document evidencing such document’s prior existence or facts concerning its nonexistence or loss.

                                           DEFINITIONS

        1.      The terms “you,” “your,” and “BAE” refer to BAE Systems Ordnance Systems, Inc.,

its directors, officers, employees, agents, representatives, consultants, and attorneys.

        2.      The term “Fluor” refers to Fluor Federal Solutions, LLC, its directors, officers,

employees, agents, representatives, consultants, and attorneys.

        3.      The term “Parties” refers to BAE and Fluor, collectively.

        4.      The term “Army” refers to the United States Army, the Project owner for whom BAE

was the prime contractor.

        5.      The term “Action” refers to the above-captioned case.



                                                    3
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 4 of 19 Pageid#: 1827




            6.    The term “Complaint” refers to the Complaint (ECF No. 1) that BAE filed in this

Action on September 30, 2020.

            7.    The term “Answer” refers to the Answer and Affirmative Defenses (ECF No. 40) that

BAE filed in this Action in response to Fluor’s Complaint on June 14, 2021.

            8.    The term “Project” refers to the design and construction of the new nitrocellulose

facility that Fluor performed under a subcontract with BAE on the Radford Army Ammunition Plant

in Radford, Virginia, which is the subject of this Action.

            9.    The phrase “NC Facility” refers to the new nitrocellulose facility on which Fluor

provided design and construction services under a subcontract with BAE, and which was intended to

replace the Army’s legacy nitrocellulose facility on the Radford Army Ammunition Plant.

            10.   The term “RFAAP” refers to the Radford Army Ammunition Plant in Radford,

Virginia, where the Project was performed.

            11.   The phrase “Basic Ordering Agreement” refers to Contract No. W52P1J-11-G-0002,

entered by BAE and the Army on May 17, 2011.

            12.   The phrase “Prime Contract” refers to Task Order 0002 to the Basic Ordering

Agreement, including all amendments, change orders or modifications thereto, which was issued by

the Army to BAE on or about January 23, 2012, for the design and construction of a new nitrocellulose

facility.

            13.   The term “Subcontract” refers to the subcontract between BAE and Fluor, entered

on or about December 17, 2015, for the design and construction of a new nitrocellulose facility.

            14.   The phrase “Process Design” refers to the design prepared by BAE by which the

thousands of components of the NC Facility would operate, and which was required to ensure that

the nitrocellulose production process provided high quality, improved manufacturing efficiencies, and

operated safely.



                                                   4
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 5 of 19 Pageid#: 1828




       15.      The term “Lauren” refers to Lauren Engineers & Constructors, Inc., BAE’s original

subcontractor for the design and construction of the NC Facility, whose construction and design

subcontracts BAE terminated in January 2015 and March 2015, respectively.

       16.      The phrase “Lauren Design” refers to the designs, specifications, drawings, diagrams,

and computer models of the NC Facility that Lauren prepared under the subcontract with BAE.

       17.      The term “Request for Proposals” refers to the Solicitation and Request for Proposals

that BAE issued to interested bidders, including Fluor, on or about July 2, 2015, for the Project.

       18.      The phrase “Bid Proposals” refers to both the cost proposals and the technical

proposals that Fluor submitted to BAE in August through November 2015 to bid on the Project.

       19.      The phrase “Change Proposal (PCN)” refers to the formal proposals that Fluor

submits to BAE, as required by the Subcontract, stating the bases of Fluor’s entitlement to additional

compensation.

       20.      The phrase “Limitation of Damages clauses” refers collectively to the contractual

clauses located at Article 2.21 of the Supplemental Terms & Conditions of the Subcontract, Article 36

of Appendix J of the Subcontract, and Article 46 of the General Provisions for Construction

Subcontracts/Purchase Orders of the Subcontract.

       21.      The phrase “Statement of Work” refers to the Subcontract’s Statement of Work,

which is Exhibit E to the Subcontract.

       22.      The phrase “Appendix G” refers to Appendix G of the Statement of Work, which

includes the Lauren Design.

       23.      The term “communication” means the transmittal of information by any means.

Without limiting the foregoing, “communication” includes all documents (whether paper, electronic,

or otherwise), email communications, telephone conversations, face-to-face conversations,

negotiations, meetings, or conferences.



                                                  5
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 6 of 19 Pageid#: 1829




        24.      The term “document” is used in its customary sense and is meant to have the broadest

possible meaning provided under the Federal Rules of Civil Procedure, Local Rules, and other

applicable law. It includes the original, preliminary, draft, and final copies of all written, typed, printed,

electronic, recorded, or graphic statements, communications, or other matter, however produced,

reproduced, or stored, in your possession, custody, or control. It includes, without limitation, all drafts

and final correspondence, letters, emails, facsimile transmissions, memoranda, notes, notations,

notepapers, interoffice communications, transcripts, notes and minutes of telephone conversations,

of other conversations, of conferences, and of meetings, books, pamphlets, periodicals, articles,

requisitions, resolutions, certificates, opinions, reports, studies, analyses, evaluations, contracts,

licenses, agreements, financial statements, ledgers, checks, check stubs, invoices, receipts, estimates,

bills, applications for payment, books or records of account, credit memoranda, credit files, notations

in credit files, statistical records, desk calendars, diaries, journals, lists, tabulations, summaries, charts,

graphs, maps, surveys, plans, drawings, specifications, sound recordings, photographs, computer tapes

or printouts, magnetic tapes, and all other records kept by electronic, photographic, or mechanical

means, and papers and things similar to any of the foregoing, however denominated, and in their

original form, by you or any other person. If copies, reproductions, drafts, or facsimiles of a document

are not identical by reason of handwritten notations, initials, identification marks, or other

modification, each such nonidentical copy is a separate document within the meaning of this definition.

        25.      The term “correspondence” means any document related to any communication,

contact, discussion, or exchange between any two or more persons.

        26.      The terms “person,” “individual,” and “entity” include any natural person, partnership,

corporation, proprietorship, joint venture, unincorporated association, or other business association

or legal entity, and any other domestic or foreign governmental body, commission, board, agency,

authority, branch, department, or component thereof.



                                                      6
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 7 of 19 Pageid#: 1830




        27.     The term “each” includes the word “every,” and the term “every” includes the word

“each.” “Any” includes the word “all,” and “all” includes the word “any.” “And” includes the word

“or,” and “or” includes the word “and,” as is necessary to bring within the scope of a particular request

any document that might otherwise be construed to be outside its scope.

        28.     Terms in the plural include the singular, and terms in the singular include the plural.

        29.     The term “includes” or “including” means “including, but not limited to.”

        30.     The terms “related to,” “relating,” or “concerning” mean consisting of, referring to,

reflecting, or being in any way legally, logically, or factually connected with the matter discussed, and

includes referring to, relating to, concerning, embodying, pertaining to, connected with, commenting

on, responding to, showing, describing, analyzing, reflecting, or constituting.

        31.     Terms referring to a gender include all genders, as appropriate in the context.

        32.     As used herein, the words “or” or “and” shall mean “and/or.”




                                                   7
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 8 of 19 Pageid#: 1831




                                    DOCUMENT REQUESTS

          1.    All documents, communications, and correspondence, supporting, refuting,

addressing, concerning, referring to, or relating, in any way, to the averments in BAE’s pleadings, as

the term “pleadings” is defined in FRCP 7(a).

          2.    All documents, communications, and correspondence, reviewed, referenced,

considered, adopted, or rejected to prepare your answers to any discovery requests served in this

Action.

          3.    All documents, communications, correspondence, analyses, records, and data that

BAE intends to introduce into evidence at trial or at any other hearing in this Action.

          4.    All documents, communications, correspondence, analyses, records, and data

prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

relating, in any way, to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with

Lauren, the Subcontract, the Project, this Action or its subject matter.

          5.    All documents, communications, correspondence, analyses, records, and data

prepared by, exchanged by and between, or involving BAE and Lauren that concern, refer, or relate,

in any way, to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren (and

its negotiation, performance, or termination), the Subcontract, the Project, this Action or its subject

matter.

          6.    All statements (as that term is used in FRCP 26(b)(3)(C)) which were previously made

by you concerning, referring to, or relating, in any way, to the Prime Contract, Lauren, the Lauren

Design, BAE’s subcontract(s) with Lauren (and its negotiation, performance or termination), the

Subcontract, the Project, this Action or its subject matter.

          7.    A complete copy of the Prime Contract between BAE and the Army including,

without limitation, all task orders, delivery orders, general, special, and supplemental conditions,



                                                   8
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 9 of 19 Pageid#: 1832




exhibits, attachments, schedules, modifications, change orders, and other documents incorporated or

referenced therein.

       8.       A complete copy of the subcontract(s) between BAE and Lauren including, without

limitation, general, special, and supplemental conditions, exhibits, attachments, schedules,

modifications, change orders, and other documents incorporated or referenced therein.

       9.       All documents, communications, correspondence, analyses, records, and data

maintained by your employees concerning, referring to, or relating, in any way, to the Prime Contract,

Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation, performance, or

termination), the Subcontract, or the Project, including, without limitation, any notes, notes of

telephone conferences or meetings, field notes, diaries, journals, and calendars, whether handwritten

or otherwise.

       10.      All documents, communications, correspondence, analyses, records, and data

summarizing, memorializing, reporting, referring to, or relating, in any way, to any internal BAE oral

communications, including, without limitation, meetings, conferences, and phone calls pertaining to

the Prime Contract, Lauren, the Lauren Design, the Subcontract, or the Project.

       11.      All documents, communications, correspondence, analyses, records, and data

summarizing, memorializing, reporting, concerning, referring to, or relating, in any way, to any oral

communications, including, without limitation, meetings, conferences, and phone calls prepared by,

exchanged by and between, or involving BAE and Fluor pertaining to the Prime Contract, Lauren,

the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation, performance, or

termination), the Subcontract, or the Project.

       12.      All documents, communications, correspondence, analyses, records, and data

summarizing, memorializing, reporting, referring to, or relating, in any way, to any oral

communications, including, without limitation, meetings, conferences, and phone calls between or



                                                  9
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 10 of 19 Pageid#: 1833




 involving BAE and the Army pertaining to the Prime Contract, Lauren, the Lauren Design, the

 Subcontract, or the Project.

         13.     All documents, communications, correspondence, analyses, records, and data

 summarizing, memorializing, reporting, referring to, or relating, in any way, to any oral

 communications, including, without limitation, meetings, conferences, and phone calls between or

 involving BAE and its subcontractors including, without limitation, Lauren, related to the Prime

 Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation,

 performance, or termination), the Subcontract, or the Project.

         14.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the negotiation and/or formation of the Prime

 Contract, under which BAE contracted with the Army to design and construct the Project.

         15.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the negotiation and/or formation of the

 Subcontract between BAE and Fluor.

         16.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the preparation and issuance of the Request for

 Proposals BAE issued to potential bidders, including Fluor, for the Subcontract and/or the Project.

         17.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and any one or all of the potential

 offeror(s) on the Project concerning, referring to, or relating, in any way, to the Prime Contract, Lauren,

 the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation, performance, or

 termination), or the work to be performed as set forth in the Request for Proposals issued to the

 potential offerors.




                                                    10
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 11 of 19 Pageid#: 1834




         18.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any BAE investigation, review, evaluation,

 assessment, analysis, and/or determination of the percent complete, maturity, condition, status, or

 progress of the Lauren Design as of the dates BAE terminated the Lauren subcontracts.

         19.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any BAE investigation, review, evaluation,

 assessment, analysis, and/or determination of the percent complete, maturity, condition, status, or

 progress of the Lauren Design at any time between April 2015 and December 2015.

         20.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to all Lauren reports, statements, descriptions, or

 information provided to BAE and/or the Army regarding the percent complete, maturity, condition,

 status, or progress of the Lauren Design.

         21.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to all BAE reports, statements, descriptions, or

 information provided to the Army regarding the percent complete, maturity, condition, status, or

 progress of the Lauren Design.

         22.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the percent complete, maturity, condition, status,

 or progress of the Process Design as of the date the Subcontract was executed.

         23.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s analysis, review, assessment, evaluation, and

 consideration of Fluor’s Bid Proposals.




                                                    11
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 12 of 19 Pageid#: 1835




         24.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s analysis, review, assessment, evaluation, and

 consideration of the portion of Fluor’s Bid Proposals concerning Fluor’s proposed design work.

         25.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to Fluor’s Bid Proposals including, BAE’s analysis, review, assessment, evaluation,

 and consideration of the Bid Proposals.

         26.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to the negotiation, formation, performance or termination of the subcontract(s)

 between BAE and Lauren.

         27.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to the Lauren Design.

         28.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and Lauren concerning, referring to, or

 relating, in any way, to the Lauren Design.

         29.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and Lauren concerning, referring to, or

 relating, in any way, to the performance and termination of Lauren’s design and construction

 subcontracts, including, without limitation, the termination of the Lauren design and construction

 subcontracts.




                                                    12
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 13 of 19 Pageid#: 1836




         30.         All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s representations to Fluor, prior to the

 execution of the Subcontract, that the Lauren Design was 85% complete.

         31.         All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any updates, amendments, or corrections

 performed by BAE to the Lauren Design prior to the execution of the Subcontract.

         32.         All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any updates, amendments or corrections to the

 drawings, specifications, and technical documents included in Appendix G to the Subcontract that

 were performed by BAE prior to the execution of the Subcontract.

         33.         All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s understanding, impressions of, and/or

 interpretation of the Subcontract including, without limitation, the scope of Fluor’s and BAE’s design

 responsibilities.

         34.         All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the negotiation, formation, selection, and revisions

 to the language of the Limitation of Damages clauses in the Subcontract, including all drafts, edited

 and/or revised versions of the Limitation of Damages clauses.

         35.         All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s analysis, review, assessment, evaluation, and

 consideration of Fluor’s Change Proposals (PCNs), including all revised versions of the Change

 Proposals (PCNs.)

         36.         All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or



                                                    13
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 14 of 19 Pageid#: 1837




 relating, in any way, to the Change Proposals (PCNs) that Fluor submitted to BAE on the Project,

 including all revised versions of the Change Proposals (PCNs).

         37.      All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to Prime Contract Modification 17, executed by the Army and BAE on or about

 July 23, 2018.

         38.      All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to any Cure Notice or Show Cause Notice issued by the Army to BAE, to include

 the Show Cause Notice issued by the Army on February 8, 2018.

         39.      All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to the “letters of concern” issued by the Army as alleged in Paragraph 134 of

 BAE’s Complaint.

         40.      All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to the Show Cause Notice issued by the Army on October 16, 2019.

         41.      All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to, or

 relating, in any way, to any Cure Notice issued by BAE, to include the Cure Notice issued by BAE on

 November 2, 2016.

         42.      All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE, Fluor or the Army concerning, referring




                                                 14
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 15 of 19 Pageid#: 1838




 to, or relating, in any way, to Fluor’s November 11, 2016, response to the Cure Notice that BAE

 issued on November 2, 2016.

         43.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE, Fluor or the Army concerning, referring

 to, or relating, in any way, to Fluor’s December 2, 2016 response to the Cure Notice that BAE issued

 on November 2, 2016.

         44.     All CPM schedules, proposed schedules, bar charts, two-week look-aheads, alleged

 recovery schedules and schedule updates prepared by BAE concerning, referring to, or relating, in any

 way, to the Project, including all documents, communications, correspondence, analyses, records,

 evaluations, analyses and data concerning the schedules.

         45.     All documents, communications, correspondence, evaluations, analyses, schedules,

 records, and data concerning, referring to, supporting, refuting, or relating, in any way, to BAE’s

 contention that all delay on the Project is the responsibility of Fluor.

         46.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s review, evaluation, and analysis of Fluor’s

 schedules, proposed schedules, alleged recovery schedules, and schedule updates including, without

 limitation, all documents, communications, correspondence, analyses, records, and data prepared by,

 exchanged by and between, or involving BAE, Fluor, and/or the Army.

         47.     All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, supporting, refuting, addressing, or relating, in any way, to the allegations set

 forth in Paragraphs 93, 99, 100, 103, 110, 114, 134, 141, and 153(a) – (d) of the Complaint.

         48.     All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and Bowas-Induplan Chemie Gesellschaft

 MBH (BOWAS) or any of its affiliates or subsidiaries concerning, referring to, or relating, in any way,



                                                     15
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 16 of 19 Pageid#: 1839




 to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren, the Subcontract,

 the Project or the Change Proposals (PCNs.)

         49.    All minutes of meetings between BAE and Fluor concerning, referring to, or relating,

 in any way, to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren, the

 Subcontract, the Project or the Change Proposals (PCNs.)

         50.    All minutes of meetings prepared by, exchanged by and between, or involving BAE

 and the Army concerning, referring to, or relating, in any way, to the Prime Contract, Lauren, the

 Lauren Design, the Project, the Subcontract or the Change Proposals (PCNs.)

         51.    All photographs and videos of or concerning, referring to, or relating, in any way, to

 the Project.



 Dated October 15, 2021




                                                 16
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 17 of 19 Pageid#: 1840




                                    Respectfully submitted,


                                    /s/ Scott P. Fitzsimmons
                                    Scott P. Fitzsimmons, Esq. (VSB 68147)
                                    Kathleen O. Barnes, Esq. (VSB 30451)
                                    Edward J. Parrott, Esq. (VSB 29499)
                                    Sarah K. Bloom, Esq. (VSB 94406)
                                    Gregory M. Wagner, Esq. (VSB 96017)
                                    WATT, TIEDER, HOFFAR
                                    & FITZGERALD, LLP
                                    1765 Greensboro Station Place, Suite 1000
                                    McLean, Virginia 22102
                                    Tel: (703) 749-1000
                                    Fax: (703) 893-8029
                                    sfitzsimmons@watttieder.com
                                    kbarnes@watttieder.com
                                    eparrott@watttieder.com
                                    sbloom@watttieder.com
                                    gwagner@watttieder.com

                                    Attorneys for Fluor Federal Solutions, LLC




                                      17
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 18 of 19 Pageid#: 1841




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 15th day of October 2021, a copy of the foregoing was

 delivered via email to the following:

                 Todd M. Conley (VSB #89839)
                 Jeffrey J. Golimowski (VSB #93525)
                 WOMBLE BOND DICKINSON (US) LLP
                 8350 Broad Street, Suite 1500
                 Tysons, Virginia 22102
                 Tel: (703) 394-2275
                 Fax: (703) 790-2623
                 Email: todd.conley@wbd-us.com
                 Email: jeff.golimowski@wbd-us.com

                 D. Stan Barnhill (VSB #22978)
                 Joshua R. Treece (VSB #79149)
                 Justin E. Simmons (VSB # 77319)
                 WOODS ROGERS PLC
                 10 South Jefferson Street, Suite 1400
                 Roanoke, Virginia 24011
                 Tel: (540) 983-7600
                 Fax: (540) 983-7711
                 Email: barnhill@woodsrogers.com
                 Email: jtreece@woodsrogers.com
                 Email: jsimmons@woodsrogers.com

                 Karen M. Stemland (VSB #47167)
                 WOODS ROGERS PLC
                 123 East Main Street, 5th Floor
                 Charlottesville, Virginia 22902
                 Tel: (434) 220-6826
                 Fax: (434) 566-0473
                 Email: kstemland@woodsrogers.com

                 Attorneys for BAE Systems Ordnance Systems, Inc.




                                                    18
Case 7:20-cv-00587-RSB Document 65-4 Filed 12/03/21 Page 19 of 19 Pageid#: 1842




                                    Respectfully submitted,

                                    /s/ Kathleen O. Barnes
                                    kbarnes@watttieder.com
                                    WATT, TIEDER, HOFFAR
                                    & FITZGERALD, LLP
                                    1765 Greensboro Station Place, Suite 1000
                                    McLean, Virginia 22102
                                    Tel: (703) 749-1000
                                    Fax: (703) 893-8029
                                    kbarnes@watttieder.com

                                    Attorney for Fluor Federal Solutions, LLC




                                      19
